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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

                                            :
 UNITED STATES OF AMERICA                   :       Case No: 1:21-MJ-543; 21-CR-578 (APM)
                                            :
                                            :
                                            :       40 U.S.C. § 5104(e)(2)(G)
                                            :       (Parading, Demonstrating, or Picketing in
          v.                                :       a Capitol Building)
                                            :
 KELSEY LEIGH ANN WILSON                    :
                                            :
          Defendant.                        :
                                            :

                                  STATEMENT OF OFFENSE

         Pursuant to Federal Rule of Criminal Procedure 11, the United States of America, by and

through its attorney, the United States Attorney for the District of Columbia, and the defendant,

KELSEY LEIGH ANN WILSON, with the concurrence of his attorney, agree and stipulate to

the below factual basis for the defendant’s guilty plea—that is, if this case were to proceed to

trial, the parties stipulate that the United States could prove the below facts beyond a reasonable

doubt:

                          The Attack at the U.S. Capitol on January 6, 2021

         1.       The U.S. Capitol, which is located at First Street, SE, in Washington, D.C., is

secured 24 hours a day by U.S. Capitol Police. Restrictions around the U.S. Capitol include

permanent and temporary security barriers and posts manned by U.S. Capitol Police. Only

authorized people with appropriate identification are allowed access inside the U.S. Capitol.

         2.       On January 6, 2021, the exterior plaza of the U.S. Capitol was closed to members

of the public.
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        3.       On January 6, 2021, a joint session of the United States Congress convened at the

United States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint

session, elected members of the United States House of Representatives and the United States

Senate were meeting in separate chambers of the United States Capitol to certify the vote count

of the Electoral College of the 2020 Presidential Election, which had taken place on November

3, 2020. The joint session began at approximately 1:00 p.m. Shortly thereafter, by

approximately 1:30 p.m., the House and Senate adjourned to separate chambers to resolve a

particular objection. Vice President Mike Pence was present and presiding, first in the joint

session, and then in the Senate chamber.

        4.       As the proceedings continued in both the House and the Senate, and with Vice

President Pence present and presiding over the Senate, a large crowd gathered outside the U.S.

Capitol. As noted above, temporary and permanent barricades were in place around the exterior

of the U.S. Capitol building, and U.S. Capitol Police were present and attempting to keep the

crowd away from the Capitol building and the proceedings underway inside.

        5.       At approximately 2:00 p.m., certain individuals in the crowd forced their way

through, up, and over the barricades, and officers of the U.S. Capitol Police, and the crowd

advanced to the exterior façade of the building. The crowd was not lawfully authorized to enter

or remain in the building and, prior to entering the building, no members of the crowd submitted

to security screenings or weapons checks by U.S. Capitol Police Officers or other authorized

security officials.

        6.       At such time, the certification proceedings were still underway and the exterior

doors and windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S.

Capitol Police attempted to maintain order and keep the crowd from entering the Capitol;



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however, shortly after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol,

including by breaking windows and by assaulting members of law enforcement, as others in the

crowd encouraged and assisted those acts. The riot resulted in substantial damage to the U.S.

Capitol, requiring the expenditure of more than $1.4 million dollars for repairs.

       7.       Shortly thereafter, at approximately 2:20 p.m., members of the United States

House of Representatives and United States Senate, including the President of the Senate, Vice

President Pence, were instructed to—and did—evacuate the chambers. Accordingly, all

proceedings of the United States Congress, including the joint session, were effectively

suspended until shortly after 8:00 p.m. the same day. In light of the dangerous circumstances

caused by the unlawful entry to the U.S. Capitol, including the danger posed by individuals who

had entered the U.S. Capitol without any security screening or weapons check, Congressional

proceedings could not resume until after every unauthorized occupant had left the U.S. Capitol,

and the building had been confirmed secured. The proceedings resumed at approximately 8:00

p.m. after the building had been secured. Vice President Pence remained in the United States

Capitol from the time he was evacuated from the Senate Chamber until the session resumed.


                 Defendant’s Participation in the January 6, 2021, Capitol Riot

       8.       The defendant entered the U.S. Capitol Grounds and Building on January 6, 2021

with Zachary Wilson.

       9.       Specifically, the defendant entered the Senate Wing doors, entered Nancy Pelosi’s

office, walked through the Rotunda, the Crypt, and various hallways before exiting.




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       10.    The defendant knew at the time she entered the U.S. Capitol Building that she did

not have permission to enter the building and the defendant paraded, demonstrated, or picketed.

                                            Respectfully submitted,


                                            CHANNING D. PHILLIPS
                                            Acting United States Attorney
                                            D.C. Bar No. 415793


                                     By:    _
                                            JACOB J. STRAIN
                                            Utah Bar No. 12680
                                            Assistant United States Attorney
                                            U.S. Attorney’s Office for the District of Columbia
                                            555 4th Street, N.W.
                                            Washington, D.C. 20530




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